Case 1:21-cv-01670-JEB Document 35-6 Filed 02/10/23 Page 1 of 5




                           Exhibit E
         Case 1:21-cv-01670-JEB Document 35-6 Filed 02/10/23 Page 2 of 5




Naumes v Army:
Marc Kardell Time Records
Date:                       Description:                                       Hours:
5-6-21                      Confer with attorney, CPS, re: assisting w/case    .3
5-8-21                      Research copyright issues                          2.7
5-10-21                     Review records request, seek additional info       .3
                            from client
5-11-21                     Review and mark up updated paper record            .8
5-15-21                     Put together 5+ yellow page chronology, dates,     2.8
                            action, and contact names dating from 2-28-19
                            through 5-11-21
5-19-21                     Review client comments re: timelines/actions       .2
6-1-21                      Adjust summary of record based on client notes     .7
                            of previous consult, review Army Reg AR 25-
                            55
6-22-21                     Confer with client re: peer validation of study,   .4
                            copyright
8-6-21                      Initial review of Army records                     .7
8-17-21                     Review DOJ FOIA Guide, case review, confer         1.2
                            with CPS re: copyright and
8-18-21                              Confer with client re: Declaration, DOJ   .7
                            guide
8-19-21                     Review Shapiro case cited by Army counsel,         .8
                            confer with CPS
8-25-21                     Confer with CPS re: Army and Shapiro case
                            and scheduling                                     .3

9-8-21                      Confer with CPS re: client Declaration and         .5
                            issues for client attention
9-9-21                      Confer with client re: Declaration and             .2
                            chronology
9-10-21                     Confer with client re: Army Fit Portal, research   .3
                            Points and Authorities
9-14-21                     Begin drafting Memo                                .2

10-1-21                     Research redaction cases, D.C. specific harm       2.6
                            (under Argus) cases
10-17-21                    Review case: Walsh Post v SBA, USDDC case          .4
10-23-21                    Begin drafting Memo                                .8
10-25-21                    Zoom with client, CPS, staff re: status, likely    .7
                            plan
10-26-21                    Review Army Decl, ask client re: books             1.8
                            mentioned in Army Decl and availability
                            through University; review Secure Test
                            Registration under Copyright Office
         Case 1:21-cv-01670-JEB Document 35-6 Filed 02/10/23 Page 3 of 5




10-28-21                   Review and confer with CPS re: Army filings,        1.6
                           confer with client line by line on draft P’s Decl
                           and comments
10-29-21                   Email client re: additional and follow up           .6
                           suggestions on Decl
10-30-21                   Review text of Army PowerPoint exhibit,             .3
                           confer with client
10-30-21                   Memo research and draft Memo                        6.9
10-31-21                   Research copyright cases, including pretty          4.7
                           woman case; discuss with client Decl and
                           commercial gain issue and Secure Test
                           Registration cases, 6C and 6D
11-1-21                    Work on Memo, confer with client re: Decl and       1.2
                           purpose of her research
11-2-21                    Discuss with client options re: availability of     .2
                           text books used by Army through her university
                           resources
11-5-21                    Revise Memo, confer with client on phone re:        .6
                           Decl and Memo language and revisions
11-6-21                    Review draft of Memo, email client re:              .6
                           additions useful
11-7-21                    Research use of confidential language in FOIA       .2
                           exemption 7 (only other use of word in FOIA)
11-8-21                    Draft Memo, research Google v Oracle (Fair          2.7
                           Use), review proposed exhibit
11-10-21                   Complete my share of Memo and review Decl           2.5
                           for consistency
11-17-21                   CF with CPS re: Army Reg 25-55, purporting          .8
                           to equate voluntary commercial info submitted
                           as equal to trade secret; CF with CH re: Food
                           Marketing and Auto Safety cases re:
                           customarily and actually treated as private
                           prongs
11-20-21                   Review and comment on memo including other          .7
                           portions not worked on; and changes to my
                           draft language
12-22-21                   Review Army Reply; break down issues and            1.2
                           possible tasks; review Venetian case;
                           summarize to all
12-27-21                   First draft of Reply; email to all                  1.9
1-4-22                     Provide language from 436 F. Supp. 3d 90 (ddc       .4
                           2019) to CPS with comments
1-4-22                     CF with client; email CPS with her comments         .7
                           re: Reply
1-5-22                     Review cases, including Niagara Mohawk f.3d         2.4
                           (2002), Herrick v. Garvey 10th Cir 2002, re:
      Case 1:21-cv-01670-JEB Document 35-6 Filed 02/10/23 Page 4 of 5




                        publicly available info and copyright; email
                        Reply outline of section to CPS
1-7-22                  Draft; review memo sections                         1.2
1-8-22                  Review; comment on CPS language                     .3
1-10-22                 Finish up my section of Reply                       1.3
1-12-22                 Address client questions re: Army Decl and our      .2
                        Reply
2-28-22                 Rev. Decision                                       .2
3-9-22                  Email to PS re: potential agreement to restricted   .3
                        copyright releases subject to normal copyright
                        indicators
3-12-22                 Email to PS, Cl, re: 60-day extension               .2
                        suggestion vs. timeliness of FOIA response by
                        Army
3-13-22                 Email series to PS, Cl, info or phrases from Cl     .4
                        that might adequately assure authors regarding
                        copyright issue, particularly Dr. Park
3-13-22                 Discuss DOJ extension request; helpful              .3
                        information needed to fully respond; review
                        DOJ responsive email and agreement to confer
                        further by phone on Monday
3-14-22                 Email PS re: Army filing, not wanting to rehash     .7
                        earlier (nonexistent) arguments about non-
                        disclosure of recommendations except that a
                        “master list does not exist.” Point to their VB
                        Dec and exhibits showing electronic pathway to
                        recommendations
3-15-22                 Email to PS and Cl re: communication with           .3
                        authors, including explaining that this isn’t to
                        recreate tests, but to compare tests and
                        recommendations (which they may not have
                        been told were part of FOIA request). Also that
                        Army Dec seems to show only 3 days between
                        contact authors and Dec
3-17-22                 Email draft to PS and Cl, pulling from Docs 9-      .9
                        1, 13-1, 9-20, 7-3, and 13-1, potential summary
                        argument
3-18-22                 Email from PS notifying that Army won’t             .1
                        appeal, recommendations being released
3-31-22                 Email to Cl and PS about short Dec needed           .2
                        regarding Fair Use as relates to her proposed
                        project
4-3-22                  Review and comment on client proposed Decl          .2
4-11-22                 Email to CPS re: communication to possible          .3
                        objecting authors, and whether FOIA release
         Case 1:21-cv-01670-JEB Document 35-6 Filed 02/10/23 Page 5 of 5




                           precludes client from representing willingness
                           to comply with copyright notice, etc.
4-12-22                    Pull portion of client Decl regarding not          .2
                           commercially using test questions for inclusion
                           into email we may ask AUSA to provide to
                           authors
4-28-22                    Review and discuss refusal by Dr. Park, her two    .3
                           reasons
4-29-22                    Research, find online Naval Postgraduate           1.1
                           School form for their advanced degree students
                           to use to request academic usage of copyright
                           materials; suggest email to AUSA attaching that
                           and highlighting release language, for possible
                           way to address Dr. Park’s objections
5-3-22                     Phone conf w/CPS and client; draft proposed        1.2
                           email to AUSA with attachment from Naval
                           Postgraduate School; review edits of same
                           following sending draft
5-4-22                     Discuss Venetian case (453 F.Supp 2d, 166)         .4
                           with CPS as to clarity of law in District should
                           Army (and/or Dr. Park) not be willing to release
                           subject to some copyright language either from
                           Navy form or as Dr. Park may want; paste
                           footnote from case for legal discussion
5-21-22                    Research cases on intervention, re: Dr. Park       .7
                           objections
5-31-22                    Zoom with client and CPS, draft suggested          1.2
                           lang. for P’s Report
6-7-22                     Comments re: Report                                .2
8-5-22                     Review D’s new SJ, Declaration, initial            .8
                           research
8-11-22                    First draft done for comments re: issues, etc.     1.7
8-19-22                    Confer with other clerk re: division of tasks      .3
8-28-22                    Research (Ruston, etc.), check MMPI online         7.6
                           academic research as to availability of Q’s for
                           academic review, discuss with client, revise 2nd
                           draft of Memo



Hours:                      Rate per hour:                  Total amount:
2021: 39                    $200                            $7,800
2022: 26.3                  $207                            $5,444.10
Total: 65.3                                                 $13,244.10
